









Dismissed and Memorandum Opinion filed November 3, 2005









Dismissed and Memorandum Opinion filed November 3,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00755-CR

____________

&nbsp;

JOHN CALVIN MANLEY,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
339th District Court

Harris County, Texas

Trial Court Cause No.
993,988

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered
and Memorandum Opinion filed November 3, 2005.

Panel consists of
Justices Hudson, Frost, and Seymore. 

Do not publish C Tex.
R. App. P. 47.2(b).





